                                               United States Bankruptcy Court
                                               Middle District of Tennessee
In re:                                                                                                     Case No. 20-00625-MFH
JETHRO SHELDON THURSTON                                                                                    Chapter 13
JENNIFER LEIGH THURSTON
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0650-3                  User: mlh9971                      Page 1 of 1                          Date Rcvd: Apr 16, 2020
                                      Form ID: pdf001                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 18, 2020.
db/jdb         +JETHRO SHELDON THURSTON,   JENNIFER LEIGH THURSTON,   5187 MURFREESBORO ROAD,
                 Lebanon, TN 37090-0627

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 18, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 16, 2020 at the address(es) listed below:
              DAVID GEORGE MANGUM    on behalf of Creditor    J & L Sales notice@davidmangum.com,
               terrijackson@davidmangum.com
              HENRY EDWARD HILDEBRAND, III    hhecf@ch13nsh.com
              ROBERT JOSEPH HILL, II    on behalf of Creditor    Harpeth Financial Services, LLC
               hillfirmnotices@gmail.com
              SCOTT D WILSON   on behalf of Joint Debtor JENNIFER LEIGH THURSTON wilsonlgl@hotmail.com,
               wilsonlegalservices@gmail.com;wilsonsr82038@notify.bestcase.com
              SCOTT D WILSON   on behalf of Debtor JETHRO SHELDON THURSTON wilsonlgl@hotmail.com,
               wilsonlegalservices@gmail.com;wilsonsr82038@notify.bestcase.com
              US TRUSTEE   ustpregion08.na.ecf@usdoj.gov
                                                                                              TOTAL: 6




            Case 3:20-bk-00625              Doc 33 Filed 04/18/20 Entered 04/18/20 23:52:10                               Desc
                                          Imaged Certificate of Notice Page 1 of 3
      Dated: 4/16/2020




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                                 )
                                                       )        CHAPTER:           13
JETHRO AND JENNIFER THURSTON                           )        CASE NO.:          20-00625
5187 MURFREESBORO ROAD                                 )        JUDGE:             MASHBURN
LEBANON, TN 37090                                      )
SSN: XXX-XX-0803/8042                                  )
  Debtors.                                             )
                                                       )
                                                       )

                         ORDER GRANTING MOTION TO APPROVE
                ATTORNEY TO REPRESENT THE JOINT DEBTOR AND THE ESTATE

           THIS MATTER IS BEFORE THE COURT upon the Debtor’s Motion to Approve Attorney to

Represent the Joint Debtor and the Estate, with notice of proposed action having been given to all necessary

parties pursuant to Local Rule No. 9013-1. It appearing that no objection had been filed in writing within

twenty-one (21) days of the filing of the proposed action, the motion is well taken and shall be granted as

follows:

           1.     Attorney Christopher Boiano and the law firm of Boiano & Boiano is approved to

represent the Debtor and the Estate regarding the employment claims against CoreCiv.

           2.     Attorney Christopher Boiano and the law firm of Boiano & Boiano is entitled to receive

an attorney fee of thirty-three percent (33%) of any settlement received by the Joint Debtor, plus out-of-

pocket expenses forty percent (40%) in the event the matter is resolved by a trial, plus out-of-pocket

expenses.

           3.     The Debtor shall be entitled to her exemption pursuant to T.C.A. 26-2-103 in the amount

of $6,800.00, any funds over and above that amount, which shall be net to the Joint Debtor, shall go to the

Estate to be paid under the Plan.

           4.     Debtors’ Counsel will apply for fees in the amount of $200.00 pursuant to the Rights and




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Responsibilities entered between Counsel and the Debtors on January 30, 2020, for representation in this

matter.

IT IS SO ORDERED.

                                               THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY
                                               AS INDICATED AT THE TOP OF THE FRONT PAGE




APPROVED FOR ENTRY:


/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339
Attorney for Debtor(s)
405 1/2 A 31st Ave. N.
Nashville, TN 37209
Phone:(615) 297-2400
Fax:(615) 634-0241
wilsonlgl@hotmail.com




                                                                         This Order has been electronically
                                                                         signed. The Judge's signature and
                                                                         Court's seal appear at the top of the
                                                                         first page.
                                                                         United States Bankruptcy Court.




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